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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-956V
                                        UNPUBLISHED


    HANNAH BAKER,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: September 3, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Meningococcal Vaccine;
                                                            Vasovagal Syncope
                       Respondent.


John D. Kassel, Kassel McVey Attorneys at Law, Columbia, SC, for Petitioner.

Katherine Carr Esposito, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

         On August 3, 2020, Hannah Baker filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a vasovagal syncope within one hour
of receiving a meningococcal vaccine on June 27, 2019, which led to a “fall and fractured
skull, traumatic subarachnoid hematoma, hyponatremia, pituitary injury with syndrome of
inappropriate antiduretic hormone (“SIADH”), cerebral contusion, a blood clot, and
personality changes from a traumatic brain injury.” Petition at 1. The case was assigned
to the Special Processing Unit of the Office of Special Masters.

      On September 2, 2021, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule

1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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4(c) Report at 1. Specifically, Respondent states that Petitioner “has satisfied the criteria
set forth in the revised Vaccine Injury Table (‘Table’) and the Qualifications and Aids to
Interpretation (‘QAI’), which afford petitioner a presumption of causation if the onset of
vasovagal syncope occurs within one hour after a meningococcal vaccination, and there
is no apparent alternative cause.” Id. at 7-8. Respondent further agrees that Petitioner
experienced more than six months of residual effects. Id. at 8.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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